Filed 8/21/24 P. v. Campbell CA2/2
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion has
not been certified for publication or ordered published for purposes of rule 8.1115.


IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                        SECOND APPELLATE DISTRICT

                                        DIVISION TWO


THE PEOPLE,                                                B329622

         Plaintiff and Respondent,                         (Los Angeles County
                                                           Super. Ct. No. GA013988)
         v.

MAURICE CORNELL
CAMPBELL,

         Defendant and Appellant.




      APPEAL from an order of the Superior Court of Los
Angeles County, Jared D. Moses, Judge. Vacated and remanded.
      Heather E. Shallenberger, under appointment by the Court
of Appeal, for Defendant and Appellant.
      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan Sullivan Pithey, Assistant
Attorney General, Wyatt E. Bloomfield and Christopher G.
Sanchez, Deputy Attorneys General, for Plaintiff and
Respondent.
       Defendant and appellant Maurice Cornell Campbell
(defendant) appeals the order denying recall of his sentence and
resentencing after the Department of Corrections and
Rehabilitation (CDCR) identified him as a person serving an
invalid sentence pursuant to Penal Code section 1172.75.1
Defendant contends the trial court was required to recall his
sentence and conduct full resentencing under current law. We
agree. We therefore vacate the denial order and remand for
recall and resentencing under current law in accordance with
section 1172.75.

                           BACKGROUND
       In 1993, defendant was convicted of two counts of
attempted murder (§§ 664/187, subd. (a)) (counts 1 and 2), and
two counts of assault on a peace officer with a semiautomatic rifle
(§ 245, subd. (d)(2)) (counts 3 and 4). As to counts 1 and 2, the
jury found true two firearm enhancements (§ 12022.5, former
subd. (b)(2)), as well as the allegation that the attempted
murders were willful, deliberate and premeditated. Defendant
admitted three prior convictions pursuant to section 667.5,
former subdivision (b). Defendant was sentenced to life with the
possibility of parole on count 1, plus five years for the firearm
enhancement, and a concurrent term of life with the possibility of
parole on count 2, plus five years for the firearm enhancement.
The court stayed the remaining counts and the three prior prison
term enhancements. The judgment was affirmed in People v
Campbell (Apr. 3, 1995, B081976) (nonpub opn.).


1     All further unattributed code sections are to the Penal Code
unless otherwise stated.




                                2
        On October 31, 2022, the CDCR identified this case
pursuant to former section 1171.1, now 1172.75, and notified the
superior court so it could review defendant’s sentence for invalid
enhancements imposed prior to January 1, 2020, pursuant to
section 667.5, subdivision (b). If necessary, the sentence could be
recalled, and defendant could be resentenced. (§ 1172.75, subds.
(a), (c); see Stats. 2022, ch. 58, § 12.)
        On November 2, 2022, the matter was transferred to the
trial court. Although section 667.5, subdivision (b) enhancements
were included in defendant’s judgment, the trial court declined to
recall defendant’s sentence. Without a hearing or the
appointment of counsel, the trial court denied recall of
defendant’s sentence.
        On July 6, 2023, defendant filed a notice of appeal from the
trial court’s order.2

                           DISCUSSION
       Defendant contends that under the plain language of
section 1172.75 the trial court was required to recall his sentence
and conduct a full resentencing hearing.
       When defendant was sentenced in 1993, section 667.5,
former subdivision (b) required the imposition of a one-year
enhancement for each finding of a separate prior prison or county
jail term served by the defendant, unless the defendant had
remained free of custody for at least five years. (People v.
Renteria (2023) 96 Cal.App.5th 1276, 1282 (Renteria).) Effective
January 1, 2020, the Legislature amended the statute to impose


2     This court granted defendant’s application to file a late
notice of appeal.




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a one-year enhancement only for each prior term served for a
conviction of a sexually violent offense. (Stats. 2019, ch. 590, § 1.)
Two years later, the Legislature added section 1171.1 making the
change retroactive, declaring that “[a]ny sentence enhancement
that was imposed prior to January 1, 2020, pursuant to
subdivision (b) of Section 667.5, except for any enhancement
imposed for a prior conviction for a sexually violent offense . . . is
legally invalid.” (Former § 1171.1, subd. (a), added by Stats.
2021, ch. 728, § 3, now § 1172.75, subd. (a).)
       Section 1172.75, subdivision (b) requires the Secretary of
the CDCR to identify to the sentencing court any person in
custody “currently serving a term for a judgment that includes an
enhancement described in subdivision (a).” Under section
1172.75, subdivision (c), if the sentencing court finds the
judgment includes a now-invalid prior prison term enhancement,
“the court shall recall the sentence and resentence the
defendant.” Section 1172.75, subdivision (d)(1) further provides
that resentencing “shall result in a lesser sentence than the one
originally imposed as a result of the elimination of the repealed
enhancement, unless the court finds by clear and convincing
evidence that imposing a lesser sentence would endanger public
safety.” In no event shall resentencing “result in a longer
sentence than the one originally imposed.” (Ibid.) Subdivision
(d)(2) of section 1172.75 further requires the sentencing court to
“apply . . . any other changes in law that reduce sentences or
provide for judicial discretion so as to eliminate disparity of
sentences and to promote uniformity of sentencing.”
       The trial court’s reasons for denying recall here are set
forth in the minutes of the section 1172.75 hearing. The trial
court found the judgment included three enhancements pursuant




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to section 667.5, subdivision (b) that were stayed, and “[t]he
abstract of judgment reflects that ‘0’ time was imposed for the
667.5(b) prior[s].” The court concluded “[s]ince no time was
‘imposed’ for the 667. 5(b) prior[s] in this case, there is no need
for this court to take remedial action.”
       The People contend the trial court correctly concluded that
the terms of section 1172.75 do not entitle defendant to
resentencing because the sentencing court merely stayed the
enhancements and did not “impose” and stay the enhancements.
The People refer to the trial court’s minutes, which includes the
following: “Sentence is stayed as to Counts 3 [and] 4 and to all
priors.” The People also refer to the abstract of judgment, which
lists the three prison prior enhancements of section 667.5
subdivision (b), indicating they were charged and found true.
Under the heading “Yrs or ‘S’” on the preprinted abstract form
there appears an “S” and under “Total,” a zero.3 When prior
prison term enhancements are included in the abstract of
judgment and then stayed as in this case, the enhancements have
been imposed and stayed. (See Renteria, supra, 96 Cal.App.5th
at p. 1282.)
       Since the publication of Renteria, the Courts of Appeal have
split over whether section 1172.75 permits resentencing for
defendants whose judgments include stayed prior prison term
enhancements under section 667.5, former subdivision (b). The
issue is now before the California Supreme Court in People v.
Rhodius (2023) 97 Cal.App.5th 38, review granted February 21,
2024, S283169 (Rhodius); People v. Christianson (2023) 97


3    The reporter’s transcript of the sentencing hearing is
unavailable.




                                5
Cal.App.5th 300, review granted Feb. 21, 2024, S283189
(Christianson); and People v. Saldana (2023) 97 Cal.App.5th
1270, review granted March 12, 2023, S283547 (Saldana).
       The People contend that as the sentencing court was not
authorized to stay the section 667.5, subdivision (b)
enhancements,4 they should simply be stricken without remand
for resentencing pursuant to section 1172.75. The People also
urge us to follow Rhodius, in which the Fourth District
determined that “[i]n order to harmonize section 1172.75,
subdivision (d)(1)’s requirement with section 1172.75[,]
subdivision (a), the meaning of ‘impose’ must be interpreted to
mean ‘imposed and executed.’” (Rhodius, supra, 97 Cal.App.5th
at p. 44, review granted.) That court held defendants with stayed
prior prison term enhancements are not entitled to recall and
resentencing under section 1172.75, reasoning “[t]o interpret
‘imposed’ as used in section 1172.75, subdivision (a), to include
when a sentence was ‘imposed and stayed’ would require any
sentencing court faced with an ‘imposed and stayed’
enhancement to arbitrarily lower a sentence [pursuant to
subdivision (d)(1)] simply because the judgment contained a
stayed enhancement.” (Rhodius, at p. 44.) Rhodius concluded
that any interpretation of the meaning of “‘impose’” other than
“‘imposed and executed’” “would cause disharmony between
subdivision (a) and subdivision (d)(1) of section 1172.75.” (Ibid.)
       Defendant agrees such enhancements should have been
stricken, but urges we follow Renteria (not cited in Rhodius) as
well as the two cases also now before the California Supreme
Court, Saldana, supra, 97 Cal.App.5th 1270, review granted, and


4     See People v. Langston (2004) 33 Cal.4th 1237, 1241.




                                 6
Christianson, supra, 97 Cal.App.5th 300, review granted.
Saldana and Christianson rejected the view expressed in
Rhodius that striking the enhancements could not result in a
lesser sentence as required in subdivision (d)(1) of section
1172.75. As noted in Saldana, “The presence of a stayed term or
enhancement is not without significance; it is part of the sentence
and remains available if its execution becomes necessary and
proper for any legally sanctioned reason.” (Saldana, at p. 1278.)
“‘Thus, a stayed sentence enhancement remains as part of the
judgment and continues to carry the potential for an increased
sentence in certain circumstances, and removal of the stayed
enhancement does provide some relief to the defendant by
eliminating that potential.’” (Ibid., quoting Christianson, at
p. 312.)
      As the Christianson court explained, “the Legislature chose
to mandate a full resentencing for those individuals impacted by
a now invalid section 667.5, subdivision (b) enhancement. We see
no reason to differentiate between defendants serving an
additional term based specifically on a now invalid
enhancement[] and those for whom the enhancement was
imposed but stayed. In both instances, the presence of the
enhancement was one component considered by the sentencing
court in pronouncing the overall sentence.” (Christianson, supra,
97 Cal.App.5th at p. 315, review granted.) We agree, and join the
growing majority of Courts of Appeal in concluding that, unless
the sentencing court struck the enhancement altogether, it
remains “imposed” for purposes of relief under section 1172.75.




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                          DISPOSITION
       The November 2, 2022 order declining recall and
resentencing defendant is vacated, and the case is remanded for
recall of the sentence and full resentencing pursuant to Penal
Code section 1172.75. We express no view how the superior court
should exercise its sentencing discretion upon remand.


                                   ________________________
                                   CHAVEZ, J.

We concur:


________________________
LUI, P. J.


________________________
ASHMANN-GERST, J.




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